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EXHIBIT 7
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FROM 2 Bed and Biscuit FAS NO. 13847268585 _ Apr, 23 2015 @4:87PM P2

WEST VIRGINIA DEPARTMENT OF HEALTH AND HUMAN RESOURCES

BOARD OF REVIEW
IN RE:
KP ey. . ) ACTION NO.: 15-BOR-1518
Claimant, .
V5.

WEST VIRGINIA DEPARTMENT OF
HEALTH AND HUMAN RESOURCES,

Respondent.
ORDER OF DISMISSAL

On March 11, 2015, the Respondent received a request for hearing from Claimant
over the Department’s denial of requested additional Respite-Agency and Person
Centered Support-Agency units for the I/DI) Waiver program as outlined in the Notice
dated February 23, 2015. The Notice explains the reason for the denial as “Request
denied as approval would exceed or has exceeded the member’s individualized Wiaver
Budget.” [<a TREES AON core LTS)

West Virginia Medicaid Policy §§$13.9.10,1 and 513.9.8.1 state, “The amount of
service is limited by the member's individualized budget.”

West Virginia Common Chapters §710.19.D’ allows the Hearing Officer to
dismiss a hearing if the sole issue is one of policy,

As the issue. being appealed i is the member" s desire for more services than the
Claimant’s annual budgetary services units, it is one of policy, which the Board of
Review has no authority to change. Therefore, there is no relief available to the Claimant
on the matter, ,

Wher reas, there is no relief available to the Claimant on this issue, his March ie,

2015, request for hearing is hereby ordered DISMISSED.
Entered this 21" day of April 2015,

(4B

ALG i Woodward, State Hearing Officer
